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                                                                 Office of the Chief Counsel
                                                                 Food and Drug Administration
                                                                 10903 New Hampshire Avenue
                                                                 Silver Spring, MD 20993‐0002




July 16, 2019

Via Email

 John C. Bostic                                Jeffrey B. Coopersmith
 Assistant United States Attorney              Davis Wright Tremaine LLP
 john.bostic@usdoj.gov                         jeffcoopersmith@dwt.com

                                               Kevin M. Downey
                                               Williams & Connolly LLP
                                               kdowney@wc.com

      Re:       Document Request – United States v. Elizabeth Holmes & Ramesh
                Balwani, 18-CR-00258 EJD (N.D. Cal.)

Dear Messrs. Bostic, Coopersmith, and Downey:

I write following my July 9, 2019 letter to provide additional information regarding FDA’s
processing, review, and production of documents responsive to the document requests
made by the Government on behalf of Defendants.

In my July 9 letter, I stated that FDA expects to complete its production within six months
provided that FDA receives a waiver from the Theranos assignee to permit FDA to release
Theranos trade secret and confidential commercial information to the parties in this action
without redactions. This timeframe reflects FDA’s best estimate given prior processing
and review averages for these documents, the addition of more reviewers to the current set
of approximately 3 full-time equivalent employees (“FTEs”) in the next few weeks, and, of
course, receipt of the waiver. This timeframe also reflects the time involved for FDA to
review and redact information from the documents that is attorney work product or is
privileged (attorney-client and non-Theranos deliberative process). As relayed in my June
7 and July 9 letters, FDA also must review and redact for trade secret and confidential
commercial information belonging to non-Theranos third parties. 21 U.S.C. § 331(j); 21
U.S.C. § 360j(c); 18 U.S.C. § 1905; 21 C.F.R. § 20.61. For example, FDA will redact
standard operating procedures (“SOPs”) of Theranos’s corporate partners that exist within
the set of responsive documents. To be clear, with a waiver from Theranos, FDA will not
redact trade secret or confidential commercial information belonging to Theranos, but it
must redact such information belonging to non-Theranos entities.

FDA understands that a supplemental protective order may be requested and entered in
the above-captioned action. If that supplemental protective order provides that FDA’s
documents will be protected from public disclosure absent agreement by FDA or a Court
order, FDA will not review and redact for personal private information (“PPI”) or the
identities of confidential informants, if any exist. FDA expects that such a supplemental
protective order will shorten the timeframe in which FDA is able to produce the

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documents, although, as stated above, it will still need to review and redact for other
privileged and protected information. The addition of a “clawback” provision in any
supplemental protective order, as has been suggested to FDA, will not impact FDA’s
obligations to review and redact privileged and protected information, for which it is
prohibited by law and professional obligation to its internal clients to protect.1

As I previously conveyed in my July 9 letter, FDA is, and has been, working diligently to
collect, process, review, and ultimately produce all documents responsive to all six
categories requested by the parties. It is not withholding responsive documents based on
a determination of relevance, and it is not withholding documents that relate specifically
to Theranos on the basis of the deliberative process privilege. FDA has also been
investigating, and will continue to investigate, avenues to expedite processing and review
of the documents it has collected, including the use of automated software to facilitate
review.

FDA will continue to work as expeditiously as possible to provide the parties with the
requested material, as set forth above.

Sincerely,


Marci B. Norton
Senior Counsel




1Counsel to Defendant Balwani has posed additional questions to FDA regarding specific
custodians and a privilege log. FDA will respond to Defendant Balwani’s counsel by
separate letter.
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